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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
                                 __________________________

CHRISTINE TIMMON,

                 Plaintiff,
v.                                                                    Case No. 5:05-CV-127

CAROL WOOD and                                                        HON. GORDON J. QUIST
SANDY ALLEN,

            Defendants.
_________________________/

CHRISTINE TIMMON,

                 Plaintiff,

v.                                                                    Consolidated with:

HAROLD LEEMAN and                                                     Case No. 5:06-CV-7
KATHY DUNBAR,

                 Defendants.

_________________________/

                                                   OPINION

        In these consolidated cases, Plaintiff, Christine Timmon ("Timmon"), proceeding pro se, has

sued various members of the Lansing, Michigan City Council.1 In Case No. 5:05-CV-127, Timmon

sues Defendants Carol Wood (“Wood”) and Sandy Allen (“Allen”) based upon events that occurred

during the September 12, 2005, City Council meeting. In Case No. 5:06-CV-7, Timmon sues

Defendants Harold Leeman (“Leeman”) and Kathy Dunbar (“Dunbar”) based upon events that

occurred during the January 5, 2006, City Council meeting. Timmon alleges that Defendants are

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          Timmon filed Case No. 5:05-CV-127 on September 15, 2005 , and she filed Case N o. 5:06-CV-7 on January
11, 2006. In the March 13, 2006, Case Management Order in Case No. 5:06-CV-7, Magistrate Judge Scoville granted
Defend ants’ motion to consolidate that case with the earlier-filed case. On May 12, 2006, Chief Judge Bell entered
Administrative Order No . 06-0 42, which reassigned Case N o. 5:0 6-CV -7 to the undersigned .
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liable under 42 U.S.C. § 1983 for violating her First and Fourteenth Amendment rights. Timmon

also alleges a state law claim for violation of the Open Meetings Act, M.C.L. §§ 15.261 - .275.

Finally, in Case No. 5:05-CV-127, Timmon alleges that Defendants Wood and Allen violated 18

U.S.C. §§ 241 and 242. Presently before the Court are Timmon’s motions for summary judgment

and Defendants’ counter-motions for summary judgment. For the reasons set forth below, the Court

will deny Timmon’s motions, grant Defendants’ motions, and dismiss the cases with prejudice.

                                             I. Facts

       Timmon, an African-American, is a resident of the City of Lansing (the “City”). Timmon

frequently attends meetings of the City Council and speaks during various segments of those

meetings, including the public comment segment. Timmon also has a television show on the City’s

public access television channel operated by Comcast Corporation. At the time of the September

12, 2005, City Council meeting, Defendant Wood was an at-large member of the City Council and

Defendant Allen was the President of the City Council. At the time of the January 6, 2006, City

Council meeting, Defendant Dunbar was a newly-elected at-large member of the City Council and

Defendant Leeman was the newly-elected President of the City Council.

       The City has adopted rules that govern the procedures and conduct of City Council meetings.

Rule 19, which covers decorum for meetings and rules for speakers, is quoted in full below.

       The presiding officer shall conduct Council meetings in an orderly manner.
       Members of Council and others in attendance shall obey directions of the presiding
       officer. Citizens attending Council meetings may have up to three opportunities to
       address Council. Speakers are requested to print their names and addresses on
       registration sheets to assist in the accuracy of the Council proceedings. Extensions
       of speaker time limits are permissible at the discretion of the Council. Opportunities
       to address Council are:

              (1)     Public hearings. Scheduled public hearings are held on specific
                      legislative matters under consideration by Council. A three-minute
                      time limit is imposed per speaker.


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               (2)     Comment on legislative matters scheduled for action. Citizens may
                       present facts and opinions on legislative matters (consent matters,
                       resolutions and ordinances) listed on the Council agenda and on such
                       late legislative matters as may be added to the agenda. Each speaker
                       is limited to three minutes total on legislative matters.

               (3)     Comment on communications, petitions, and other city related
                       matters, including reports from Council Committees, City Officers,
                       or Boards and Commissions. Citizens may speak on any City
                       government related matter. Each speaker is limited to three minutes
                       total. The presiding officer may rule any speaker out of order for
                       failing to speak on City government related matters.

               The purpose of the City Council meeting is to discuss City business and not
       to deal with individual personalities. Consequently, during any City Council
       meeting, the City Council shall not permit a personally-abusive attack upon any
       person during debate or public discussion. Nothing herein is intended to limit or
       restrain negative, positive or neutral comment about the manner in which an
       individual employee, officer, official or councilmember carries out his or her duties
       in public office or employment.

               Conduct contrary to the normal presentation of business during a Council
       meeting which disturbs or interrupts the orderly process of the proceeding is a
       disturbance. No speaker shall make any slanderous or profane remark which
       disturbs, disrupts or otherwise impedes the orderly conduct of any Council meeting.

              No person in the audience at a Council meeting shall engage in disorderly
       conduct, including the utterance of threatening or abusive language, whistling or
       stomping of feet, or any other act which disturbs, disrupts, or otherwise impedes the
       orderly conduct of any council meeting or the presentation of any speaker.

(Ordinance 210.01, Rule 19, Defs.’ Br. Supp. Ex. 2.)

A.     September 12, 2005, Meeting

       The following facts are taken from the videotape of the September 12, 2005, City Council

meeting, which Defendants submitted in support of their motion. During the public comment on

legislative matters portion of the meeting, Loren Glasscock, a former City police officer, addressed

the City Council about the need to bring back the Lansing Police Department’s community policing

and school safety programs. In particular, Mr. Glasscock related the positive experiences that he had

with students as a result of his assignment to the school safety program during the early 1980s.

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         Several other speakers addressed the City Council and then Timmon was called to present

her comments. Timmon first addressed Mr. Glasscock’s comments about community policing. She

generally expressed her view that police officers are not needed in the Lansing Public Schools.

However, she stated that she was “listening to old school Loren Glasscock talking about police in

the schools,” and that Mr. Glasscock “needs to stay home.” In addition, she stated that Mr.

Glasscock was “deeply involved in the gassing of the Melling Forge UAW workers. . . . He needs

to stay home.”2 Timmon then turned to an issue that Gary Andrews, who also hosts a show on the

City’s public access television channel, had raised at the prior City Council meeting held on

September 8, 2005. Timmon stated that Mr. Andrews “made a lot of accusations against Comcast

and the public access and some of the producers. Pay him no attention either.” At this point,

Defendant Wood interrupted Timmon asking for a point of order and stating “These are not public

people. These are people . . . this is not the same as a council member or a public . . . And I request

that we . . . are not making comments about private individuals.” Defendant Allen then invoked

Rule 19, stating that it “prohibits personally abusive attacks.” Timmon responded that her attacks

were not abusive and that she was only responding to Gary Andrews’ comments at the prior meeting

regarding Comcast. Timmon stated that she did not like Mr. Andrews’ comments and that she

“believe[d] there is a racial motivation in it from situations that have happened at that studio . . .

involving certain people that come there and want to bother other people.” Timmon continued, “And

I will be filing some federal law suits. And Carol Wood, you need to mind your own business . . .


         2
            In 1996, union employees of the Melling Forge Company went on strike at a plant in Lansing. In March of
the following year, the employer brought in replacement workers. From that point on, Lansing police officers were
present at the plant to ensure that the replacement workers could enter the plant without an incident involving the striking
emplo yees. During a union rally at the plant on May 29, 19 97, police used tear gas to disperse protesters who were
blocking egress from the plant. Vario us individuals, ra lly participants and residents in a nearby neighborhood, who were
affected by the tear gas filed three lawsuits that were eventually consolidated before Judge Hillman in this district. Judge
Hillman granted summ ary jud gment to the d efendants on December 1 6, 19 98, and the Sixth C ircuit affirme d in an
unpublished opinion issued on February 10 , 200 0. See Ellsworth v. City of Lansing, No. 99-1045, 2000 WL 191836
(6th C ir. Feb. 10, 2000 ).

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.” Timmon also stated that she had “contacted [Mr. Kaltenbach] and told him that when he comes

here, there’s going to be some problems.”3 Timmon continued with her comments regarding

Comcast and her right to present a response until the buzzer indicating the end of the speaker’s time

went off. However, Timmon continued speaking. When someone in the audience spoke out of turn,

Defendant Allen said, “This is enough,” and Timmon left the podium.                      After Timmon finished

speaking, the City Clerk announced that she had stopped the timer when Defendant Wood asked for

a point of order and made her comments, thus affording Timmon her full speaking time.

        Shirley Carter, another African-American, spoke immediately after Timmon. Ms. Carter

thanked the City Council for invoking Rule 19 and stated that it should be used regularly to prevent

personal attacks on speakers. Ms. Carter noted that she had been subjected to personal attacks in the

past.

B.      January 5, 2006, Meeting

        The following facts are taken from the videotape of the January 5, 2006, City Council

meeting, which Defendants submitted in support of their motion. During the legislative matters

portion of the meeting, several people commented on various topics. Stan Shuck, the first speaker,

addressed the importance of the City’s unions as well as unions in general. The second speaker, Dru

Vinson, welcomed the new City Council members and spoke about new beginnings and his hope that

the City Council would work together to do the right thing. The third speaker, Melissa Sue

Robinson, a candidate for state representative, spoke about the loss of tax revenue, the budget deficit

and the need to have new employers and jobs in Michigan and Lansing. The fourth speaker, Mia

Tioli, spoke about starting a water taxi service in the City and the need for financing. The fifth

speaker, William Hubbell, stated that he disagreed with City Council meetings being held in the


        3
            Mr. Kaltenbach apparently was a candidate for the City Council from the 4th ward.

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afternoon rather than in the evening, the limit on public comment speakers to one time per session,

and the City’s failure to plow certain streets. John Pollard, the Sixth speaker, stated that the City

Council was in a six-month honeymoon period but after that time the members were subject to recall.

He also expressed his concerns regarding the lack of diversity on the City Council; the fact that most

of the elected members live in the 4th ward, have high incomes and expensive homes and are not

representative of most of the residents of the City; and the fact many City department heads and

appointed officials live outside of the City. Pollard requested a list of department heads and the

mayor’s staff with their addresses and salaries, ethnicities, and genders. Finally, Pollard commented

about the City’s deficit and questioned where the City would find the funds to pay former mayor

Hollister in his new position to promote employment within the City. After a brief response by some

City Council members to Pollard’s comments, Willy Williams, the seventh and final scheduled

speaker, was allowed to speak. He commented on the procedures that he believed the City Council

should use for handling public comment speakers and quoted statements that Timmon made

regarding the mayor, Dunbar, and the voters on one of her recent television shows.

       When the scheduled speakers had spoken, City Council President Leeman asked if there were

others who did not sign up to speak but who would like the opportunity to address the City Council.

The first speaker, Darnell Oldham, welcomed the new members and commented on a breach of

confidence and expressed his hope that the breach would be repaired. Timmon then went to the

podium to speak. She started speaking without giving her address and was reminded to do so.

Timmon congratulated Leeman on his election as City Council President and commented on the cost

of “seating” the new mayor. Echoing Pollard’s comments, she stated that she did not like the fact

that many of the department heads were “carpetbaggers” taking tax dollars out of the City, that the



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mayor was “used to doing that” because he lived outside of the City, and that it was not worth it for

the City to have paid such a large amount of money “for what it is not going to get.” Timmon next

commented that she would not let anyone get credit for projects that were initiated by the former

mayor, Tony Benavides, and she stated that there was no need to fill the senate seat vacated by the

current mayor several years ago. Timmon then engaged in the following exchange,4 which is the

basis for her complaint:

         Timmon:             And also Chris Swope,5 I’ve gotten very . . . a lot of complaints about you
                             announcing . . . you violating the constitution of the State of Michigan by
                             announcing at a public funded event that you had a husband. People were
                             talking about you should have been ashamed of yourself [pounding of gavel]
                             because [pounding of gavel] there was little kids . . . [City Council member
                             asking for a point of order] Excuse me. Excuse me.

         Leeman:             Point of order.

         Timmon:             As long as you . . . you can talk about a person’s duties as long as . . . . You
                             can make a personal attack, as long as it is not unrelated to his duties. And
                             this was related to the duties that he performs. This is related to the duties
                             he performs.

         Leeman:             There is a point of order. Please . . . please . . . please refrain . . . please
                             refrain . . .

         Timmon:             Stop the clock.

         Leeman:             Please continue with other city matters.

         Timmon:             Ok. Stop the clock and I’ll check it with . . .

         Leeman:             No. You go ahead, please.




         4
          Although the parties did not provide the Court with a transcript, the Court has reviewed Defendants’ recitation
of Timmo n’s comments in their brief and compared it to the video tape and finds it to be accurate. The Court thus
incorporates herein the account of the excha nge in D efendants’ brief.

         5
             Chris Swope was the newly-elected City Clerk.

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       Timmon:             Ok. Now on Jerry Ambrose,6 Jerry Ambrose, he is going to get it from me
                           because I had to file injunctions against him when he was at the county
                           commission concerning how money came up missing. And Kathy Dunbar,
                           just like I said, I will never trust a thing she says. I don’t think she belongs
                           in these city matters. She is a cheater insofar as her election [pounding of
                           gavel] . . . .

       Leeman:             [pounding of gavel] Please . . . please refrain from personal attacks.

       Timmon:             Not when it’s talking about their jobs. The Open Meetings Act number 15
                           say a government body may impose sanctions on a personal attack of an
                           official only if it is unrelated to their duties. This is related to why she is
                           sitting there. Now . . .

       Leeman:             Please continue with city matters.

       Timmon:             That is a city matter. I don’t think she belongs sitting there. I think her votes
                           are ______ [buzzer for end of three minutes].

       Leeman:             Thank you very much.

       Three other speakers, Darrell Curtis, Darrell Burgess, and Gary Andrews, made comments

after Timmon. All three speakers commented on matters concerning the cable system and the lack

of meetings of the City’s Cable Advisory Board.

       Timmon alleges in these cases that Defendants violated her First Amendment rights when

they applied Rule 19 to her comments regarding Mr. Glasscock and Gary Andrews during the

September 12, 2005, meeting and to her comments regarding Clerk Swope and Defendant Dunbar

during the January 6, 2006, meeting. Timmon also alleges that Defendants violated her Fourteenth

Amendment rights by applying Rule 19 in a discriminatory manner and that Defendants violated the

Michigan Open Meetings Act.




       6
           Jerry A mbrose, who wa s formerly the Ingham County Co ntroller, was M ayor B ernero’s new chief of staff.

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                                        II. Motion Standards

        Although Timmon brings her motions only under Rule 56, Defendants assert motions for

judgment on the pleadings under Rule 12(c) and motions for summary judgment under rule 56. The

standard for a motion for judgment on the pleadings is the same as the standard for a motion to

dismiss under Rule 12(b)(6). See Morgan v. Church’s Fried Chicken, 829 F.2d 10, 11 (6th Cir.

1987). When ruling on a defendant’s Rule 12(c) motion, a district court “must construe the

complaint in the light most favorable to the plaintiff, accept all of the complaint’s factual allegations

as true, and determine whether the plaintiff undoubtedly can prove no set of facts in support of his

claim that would entitle him to relief.” Ziegler v. IBP Hog Market, Inc., 249 F.3d 509, 512 (6th Cir.

2001) (citations omitted). A complaint must contain “more than the bare assertion of legal

conclusions,” and it must contain “either direct or inferential allegations respecting all the material

elements to sustain a recovery under some viable legal theory.” Columbia Natural Res., Inc. v.

Tatum, 58 F.3d 1101, 1109 (6th Cir. 1995). The motion should not be granted “unless it appears

beyond doubt that the plaintiff can prove no set of facts in support of his claim which would entitle

him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99, 102 (1957).

        Summary judgment is appropriate if there is no genuine issue as to any material fact and the

moving party is entitled to a judgment as a matter of law. Fed. R. Civ. P. 56. Material facts are facts

which are defined by substantive law and are necessary to apply the law. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 2510 (1986). A dispute is genuine if a reasonable jury

could return judgment for the non-moving party. Id.

        The court must draw all inferences in a light most favorable to the non-moving party, but may

grant summary judgment when "the record taken as a whole could not lead a rational trier of fact to



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find for the non-moving party." Agristor Financial Corp. v. Van Sickle, 967 F.2d 233, 236 (6th Cir.

1992)(quoting Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S.

Ct. 1348, 1356 (1986)).

                                          III. Discussion

       As noted above, Timmon and Defendants have filed motions for summary judgment. The

parties appear to agree that the videotapes submitted to the Court contain all of the evidence that is

relevant and material to Timmon’s claims in both cases and, therefore, there is no genuine issue of

material fact. Timmon asserts that she is entitled to summary judgment and requests an award of

ten million dollars. On the other hand, Defendants contend that they are entitled to summary

judgment on all claims. Specifically, Defendants argue that: (1) Timmon has failed to show a

violation of her First Amendment rights; (2) Timmon’s own evidence shows that Defendants did not

apply Rule 19 in a discriminatory manner; (3) Defendants are entitled to absolute legislative

immunity or qualified immunity; (4) Timmon’s claims in Case No. 5:05-CV-127 based upon 18

U.S.C. §§ 241 and 242 must be dismissed because those statutes are criminal statutes which provide

no basis for a civil claim; and (5) Timmon’s claims under the Open Meetings Act fails because there

was no violation.

A.     Section 1983 Claims

       In order to state a claim under § 1983, a plaintiff must allege that: (1) she was deprived of

a right secured by the Constitution or laws of the United States; and (2) the deprivation was caused

by a person acting under color of state law. See United Food & Commercial Workers v. City of

Sidney, 364 F.3d 738, 746 (6th Cir. 2004) (citing Moore v. City of Paducah, 890 F.2d 831, 833-34

(6th Cir. 1989)). There is no question in this case that Defendants were acting under color of state



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law when they applied Rule 19 to Timmon during the September 12, 2005, and January 6, 2006, City

Council meetings. Therefore, the only question is whether they deprived Timmon of a constitutional

right.

         1.     First Amendment Claim

                a.      As Applied Challenge

         Timmon claims that Defendants violated her First Amendment rights by invoking Rule 19

to preclude her from rebutting the prior comments of Mr. Glasscock and Mr. Andrews during the

September 12, 2005, meeting and by invoking Rule 19 to preclude her from commenting about Clerk

Swope’s conduct during a City-sponsored ceremony and her opinion of Dunbar’s integrity during

the January 6, 2006, meeting.

         The First Amendment to the United States Constitution provides that “Congress shall make

no law . . . abridging the freedom of speech.” U.S. Const. amend. I. This prohibition on

governmental interference with free speech has been extended to state actors through the Fourteenth

Amendment. See Everson v. Bd. of Educ., 330 U.S. 1, 8, 67 S. Ct. 504, 508 (1947). However, free

speech rights must be balanced against the states’ rights to protect important interests. “The freedom

of expression protected by the First Amendment is not inviolate; the Supreme Court has established

that the First Amendment does not guarantee persons the right to communicate their views ‘at all

times or in any manner that may be desired.’” Jones v. Heyman 888 F.2d 1328, 1331 (11th Cir.

1989) (quoting Heffron v. Int’l Soc’y for Krishna Consciousness, 452 U.S. 640, 647, 101 S. Ct.

2559, 2564 (1981)). A violation of the right to free speech occurs only when the restricted speech

is constitutionally protected and the government’s justification for the restriction is insufficient. See

Frisby v. Schultz, 487 U.S. 474, 479, 108 S. Ct. 2495, 2499-500 (1988). Defendants do not argue,



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and the Court finds no reason to conclude, that Timmon’s speech during the public comment

segments of the September 12, 2005, and January 6, 2006, meetings was not protected by the First

Amendment. Policing matters and the operation of City-sponsored cable television channels are

matters of concern to the public entitled to First Amendment protection. Similarly, a citizen’s views

on regarding the morality or legality of a public official’s conduct or a public official’s integrity are

matters that implicate core First Amendment protection.

        In order to determine the extent to which the government may impose limits on speech, the

Supreme Court has adopted a forum analysis, which examines the character of the public property

on which the speech occurs. See id. at 479-80, 108 S. Ct. at 2500. This analysis allows a court to

determine “when the government’s interest in limiting the use of its property to its intended purpose

outweighs the interest of those wishing to use the property for other purposes.” Cornelius v. NAACP

Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 800, 105 S. Ct. 3439, 3448 (1985). The first type of

forum is the traditional public forum, which includes places, such as streets and parks, that “by long

tradition or by government fiat have been devoted to assembly and debate.” Perry Educ. Ass’n v.

Perry Local Educators’ Ass’n, 460 U.S. 37, 45, 103 S. Ct. 948, 954 (1983). The second type of

forum, referred to as a designated or limited public forum, see Spingola v. Vill. of Granville, 39 F.

App’x 978, 982 (6th Cir. 2002) (noting that the second type of forum has been alternatively

described as both a designated public forum and a limited public forum and citing Arkansas Educ.

Television Comm’n v. Forbes, 523 U.S. 666, 679, 118 S. Ct. 1633, 1642 (1998)), exists where the

government designates “a place or channel of communication for use by the public at large for

assembly and speech, for use by certain speakers, or for the discussion of certain subjects.”

Cornelius, 473 U.S. at 802, 105 S. Ct. at 3449. The third type of forum, referred to as a nonpublic



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forum, is “property which is not by tradition or designation a forum for public communication.

Perry Educ. Ass’n., 460 U.S. at 46, 103 S. Ct. at 955. In traditional and designated public forums,

content-based restrictions are permissible only if they are narrowly drawn to serve compelling state

interests. See id. at 45, 103 S. Ct. at 955; United Food & Commercial Workers, 364 F.3d at 746.

The government may impose a content-neutral regulation that restricts the time, place, and manner

of protected speech, so long as the regulation is “narrowly tailored to serve a significant government

interest, and leave[s] open ample alternative channels of communication.” Perry Educ. Ass’n, 460

U.S. at 45, 103 S. Ct. at 955. When the property is a nonpublic forum, the government may impose

time, place, and manner restrictions and may restrict speech so long as the restriction is viewpoint-

neutral and is reasonable in light of the purpose of the forum. See id. at 46, 103 S. Ct. at 955.

       Courts have generally held that a limited public forum is created when a governmental body

opens its meeting to the public for comments. See, e.g., Featherstone v. Columbus City Sch., 92 F.

App’x 279, 282 (6th Cir. 2004) (“A school board meeting, when opened to the public, is a limited

public forum for discussion of subjects relating to the operation of the schools.”); Belcher v. City

of Poquoson, No. 90-2618, 1991 WL 87520, at *2 (4th Cir. May 29, 1991) (per curiam) (holding that

the portion of the city council meeting open to public comment on a subject of the speaker’s choice

could be classified as a designated public forum); Schlegel v. Craft, No. Civ. A. 5:03-CV-268-R,

2005 WL 1949551, at *4 (W.D. Ky. Aug. 11, 2005) (concluding that a city council meeting open to

the public was a limited public forum); Jocham v. Tuscola County, 239 F. Supp. 2d 714, 728 (E.D.

Mich. 2003) (“A city council meeting is the quintessential limited public forum, especially when

citizen comments are restricted to a particular part of the meeting.”); Zapach v. Dismuke, 134 F.

Supp. 2d 682, 690 (E.D. Pa. 2001) (concluding that a zoning board hearing regarding a developer’s



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appeal was a designated public forum for the purpose of obtaining public comment about the

developer’s request for a special exception). In a previous decision, this Court concluded that a

meeting of a local municipal body constituted a limited public forum. See Gault v. City of Battle

Creek, 73 F. Supp. 2d 811, 814 (W.D. Mich. 1999) (meetings of the Battle Creek City Commission).

       Having concluded that the City Council meetings are a limited public forum, the Court must

determine whether Rule 19 is content-based or content-neutral. A regulation that is justified without

regard to the content of the speech is content-neutral, whereas a regulation that restricts speech on

the basis of the message is content-based. See United Food & Commercial Workers, 364 F.3d at

752. “As long as a restriction ‘serves purposes unrelated to the content of expression, it is content-

neutral ‘even if it has an incidental effect upon some speakers or messages but not others.’” Brown

v. City of Jacksonville, No. 3:06-CV-122-J-20MMH, 2006 WL 385085, at *3 (M.D. Fla. Feb. 17,

2006) (quoting Zapach, 134 F. Supp. 2d at 690). The Court concludes that Rule 19, and in

particular, the portion of the rule that prohibits personally-abusive attacks, is content neutral. The

rule, on its face, applies to all citizens regardless of the message or viewpoint; it does take into

consideration the content of the speech. Other courts have found similar city council rules to be

content-neutral. For example, in Brown, supra, the court held that a rule prohibiting “personal,

impertinent or slanderous remarks” to be content-neutral. See id. at *3. The court in Scroggins v.

City of Topeka, 2 F. Supp. 2d 1362 (D. Kan. 1998), also found that a similar rule was content-

neutral: “It is clear that the Council’s prohibition on personal attacks is not based on the Council’s

disagreement with any particular message, is unrelated to any particular viewpoint being expressed,

and serves purposes unrelated to the particular content of the speech.” Id. at 1371; see also Rowe

v. City of Cocoa, 358 F.3d 800, 802-03 (11th Cir. 2004) (concluding that the city council’s rules of



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procedure limiting citizen-speakers’ comments to legitimate matters of public concern were content-

neutral, served an important governmental interest in running an orderly and efficient meeting, and

did not impermissibly restrict speech).

       The Supreme Court and other courts have recognized that the government has a significant

interest in the orderly and efficient conduct of meetings of public bodies. See, e.g., City of Madison,

Joint Sch. Dist. No. 8 v. Wis. Employment Relations Comm’n, 429 U.S. 167, 175 n.8, 97 S. Ct. 421,

426 n.8 (1976) (“Plainly, public bodies may confine their meetings to specified subject matter and

may hold nonpublic sessions to transact business.”); Jones v. Heyman, 888 F.2d 1328, 1333 (11th

Cir. 1989) (concluding that by limiting the plaintiff’s comment to the topic at hand, the mayor was

furthering the city’s interest in controlling the agenda and preventing disruption of the meeting);

Jocham, 239 F. Supp. 2d at 728 (noting that a county board “retain[s] substantial control over the

manner in which citizen comments are presented”). In White v. City of Norwalk, 900 F.2d 1421 (9th

Cir. 1990), the Ninth Circuit recognized that while a citizen has a substantial first amendment

interest in addressing her local governmental body on matters of public importance, the government

is not precluded from deciding the appropriate format for conducting the meeting. “[A] City Council

meeting is still just that, a governmental process with a governmental purpose,” and “[t]he Council

has an agenda to be addressed and dealt with.” Id. at 1425. Thus, the court noted, while the

government may not stop a speaker because of her viewpoint, it may do so if the speaker becomes

disruptive “by speaking too long, by being unduly repetitious, or by extended discussion of

irrelevancies.” Id. at 1425-26. The prohibition against personally-abusive attacks in Rule 19 furthers

the City’s interest in running an efficient meeting without disruption by ensuring that speakers focus

only on the issues and not on impertinent matters. See Scroggins, 2 F. Supp. 2d at 1373 (stating that



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“the rule against personal and slanderous remarks, like other rules of decorum, serves the important

governmental interest of preventing disruptions to its meetings”). That is, the rule ensures that

speakers who seek to use their allotted time before the City Council will do so to address public

issues and not to air their personal disputes with others.

       Timmon does not argue that Rule 19 is not narrowly tailored. [T]he requirement of narrow

tailoring is satisfied ‘so long as the . . . regulation promotes a substantial government interest that

would be achieved less effectively absent the regulation.’” Ward v. Rock Against Racism, 491 U.S.

781, 799, 109 S. Ct. 2746, 2758 (1989) (quoting United States v. Albertini, 472 U.S. 675, 689, 105

S. Ct. 2897, 2906 (1985)). The portion of Rule 19 prohibiting personally-abusive attacks satisfies

this requirement by precluding only that activity that could be disruptive to the orderly conduct of

the meeting.

       Because Rule 19 serves a significant government interest and is narrowly tailored, Timmon

must show that Defendants applied Rule 19 to her in a manner that was unconstitutional. See

Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist., 508 U.S. 384, 393, 113 S. Ct. 2141, 2147

(1993) (concluding that a constitutionally valid rule was applied in an unconstitutional manner).

Timmon’s argument on this point is essentially that Defendants’ application of Rule 19 interfered

with her free speech rights because they had no grounds to invoke the rule.

       With regard to the September 12, 2005, meeting, Timmon maintains that she was only

making a legitimate rebuttal to the comments by prior speakers and that she was not personally

attacking them. However, the videotape shows that Defendant Wood asked for a point of order

regarding the application of Rule 19's prohibition against personally-abusive attacks only after

Timmon made personal and defamatory comments about Mr. Glasscock to the effect that he was

“old school Loren Glasscock,” that “he needs to stay home,” and that he was deeply involved in the


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gassing of Melling Forge workers. Timmon’s comments went well beyond the scope of any

legitimate response to the issue that Mr. Glasscock raised regarding the need for police in the

schools, and, on that basis, Wood reasonably inquired about the applicability of Rule 19 as Timmon

was beginning her statement in response to Mr. Andrews’ comments about Comcast. Nothing in

the videotape suggests that Defendants invoked Rule 19 because they disagreed with Timmon’s

message or viewpoint. Rather, Timmon had already finished her response to Mr. Glasscock’s

comments, and she was afforded her full speaking time to complete her comments about Comcast.

Given these circumstances, Timmon has failed to show a First Amendment violation.7

         Defendants’ application of Rule 19 to Timmon’s comments at the January 6, 2006, meeting

presents a closer question, but the result is the same. In a broad sense, Timmon’s comments could

be deemed to relate to matters of interest to the public. For example, the issue of same-sex marriages

has generated substantial controversy and debate in the last few years, including in Michigan, where

voters recently approved an amendment to the Michigan constitution declaring that “the union of one

man and one woman in marriage shall be the only agreement recognized as a marriage or similar

union for any purpose.” Const. 1963, art 1. § 25. If a City Council member or a City employee

publicly took the position that the City should simply disregard the constitutional limitation and

recognize same-sex marriages, or that the City should adopt an ordinance that would contravene the

constitutional amendment by recognizing same-sex marriages, or that the City should provide

domestic partner benefits, the member’s or employee’s views would certainly be a matter of public

concern subject to negative or positive comment during the public comment portion of a City

Council meeting. However, Timmon’s comments regarding Clerk Swope did not relate to a matter

         7
          Timmo n also alleges that during the September 12 , 2005, meeting, W ood passed a no te to Allen requesting
that Timmon’s rebuttal to Mr. Glasscock’s comments be stopped. Timmon has not produced the alleged note as part of
her various filings, but even if she had done so, the alleged note would prove nothing because, as already noted, Timmon
respo nded to M r. Glasscoc k’s com ments without interruption.

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of public concern, but rather to Clerk Swope’s own personal life. Specifically, as the Court

understands it, at a City function, Clerk Swope introduced “his ‘husband’ whom he ‘married’ in a

Canadian ceremony.” (Compl. ¶ 11.) Timmon contends that her comments did not constitute a

personal attack under Rule 19 because she was criticizing Clerk Swope’s performance of his official

duties. Contrary to Timmon’s suggestion, the fact that Clerk Swope was attending a City function

does not transform his comments regarding his personal life into City business; Clerk Swope was

not engaged in performing an official function of his office, nor was he advocating that the City

should take any particular position regarding same-sex marriages. In Gault v. City of Battle Creek,

73 F. Supp. 2d 811 (W.D. Mich. 1999), this Court held that the defendants violated the plaintiffs’

First Amendment rights by refusing to let them speak on a matter of public concern at a city

commission meeting. Specifically, the plaintiffs sought to comment on the police chief’s affair with

an officer’s wife and the police chief’s cloning of the same officer’s pager as indicators of the chief’s

fitness to serve as the head of the police department. This Court, rejecting the defendants’ argument

that the affair was purely a personal matter that was unrelated to the chief’s performance of his duties

as police chief, noted that the chief’s affair with his subordinate’s wife “could directly relate to the

morale, leadership, and teamwork of the Battle Creek Police Department and its officers.” Id at 815.

Similarly, this Court found that the allegation that the chief illegally cloned the officer’s pager was

a matter of public concern which the plaintiffs were entitled to address at the meeting. Id. at 815-16.

There are no such circumstances in this case, because it cannot be reasonably said that Clerk

Swope’s comments have any bearing on his performance of his duties as City Clerk or suggest that

he is unfit for the job.

        Similarly, while Timmon’s comments regarding Defendant Dunbar could, in a broad sense,

be considered a matter of public concern, i.e., a public official’s integrity, Timmon’s reference to


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Dunbar as a cheater based upon an unsubstantiated allegation of wrongdoing in connection with the

November 2005 election constituted a defamatory remark that was unrelated to City business. That

is, Timmon was not alleging that Dunbar had committed some impropriety in performing her duties

as a member of the City Council nor does Timmon even suggest that her comments toward Dunbar

had anything to do with Dunbar’s performance of her duties on the City Council. Her comment was

blatantly defamatory. Therefore, Defendants properly applied Rule 19 to restrain Timmon from

continuing her personal attacks.

       b.      Facial Challenge

       Although Timmon does not assert a facial challenge to Rule 19 in her various summary

judgment briefs, because she is acting pro se, the Court will give her the benefit of the doubt and

construe the following allegation in her complaint as a facial challenge:

       On its face, Rule 19 lacks clear and articulate standards which makes it arbitrary, and
       capricious in nature and substance. It is subject to biased interpretation which leads
       to violations of free speech and equal protection; and can be discriminatory in its
       application; and foster ambiguity.

(Compl. ¶ 22.) Although Timmon does not further elaborate on this allegation, the Court

understands Timmon’s argument to be that Rule 19 is unconstitutionally vague because it does not

contain standards for determining whether a particular statement constitutes a personally abusive

attack on someone. A law is unconstitutionally vague if it either denies fair notice of the standard

of conduct for which a citizen is to be held accountable or if it is an unrestricted delegation of power

such that it authorizes or encourages arbitrary enforcement. American-Arab Anti-Discrimination

Comm. v. City of Dearborn, 418 F.3d 600, 608-09 (6th Cir. 2005) (citing Leonardson v. City of E.

Lansing, 896 F.2d 190, 196 (6th Cir. 1990)). In Grayned v. City of Rockford, 408 U.S. 104, 92 S.

Ct. 2294 (1972), the Supreme Court explained:



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       Vague laws offend several important values. First, because we assume that man is
       free to steer between lawful and unlawful conduct, we insist that laws give the person
       of ordinary intelligence a reasonable opportunity to know what is prohibited, so that
       he may act accordingly. Vague laws may trap the innocent by not providing fair
       warning. Second, if arbitrary and discriminatory enforcement is to be prevented,
       laws must provide explicit standards for those who apply them. A vague law
       impermissibly delegates basic policy matters to policemen, judges, and juries for
       resolution on an ad hoc and subjective basis, with the attendant dangers of arbitrary
       and discriminatory application. Third, but related, where a vague statute “abut[s]
       upon sensitive areas of basic First Amendment freedoms,” it “operates to inhibit the
       exercise of [those] freedoms.”

Id. at 108-09, 92 S. Ct. at 2298-99 (footnotes and citations omitted).

       To the extent that Timmon claims that Rule 19 is unconstitutionally vague because it fails

to provide any standards for application of the prohibition against personally-abusive attacks, the

Court rejects the argument because the rule is sufficiently clear that a reasonable person can

understand its meaning. There is nothing unclear about the meaning of “personally-abusive attack”;

that is, the rule prohibits insults, discourteous comments, or defamatory statements toward others.

This much is evident from the language that precedes the prohibition against personally-abusive

attacks: “The purpose of the City Council meeting is to discuss City business and not to deal with

individual personalities.” Moreover, the qualification that “nothing herein is intended to limit or

restrain negative, positive or neutral comment about the manner in which an individual employee,

officer, official or councilmember carries out his or her duties in public office or employment,”

makes clear that the rule against personally-abusive attacks is not meant to limit an individual’s First

Amendment right to speak about issues pertaining to the operation of the City government. While

Rule 19, like almost all other legislative enactments, could certainly be made more detailed (and

complicated) by adding a set of precise and technical guidelines for determining whether a statement

constitutes a personally-abusive attack, the Supreme Court made clear in Graynard that such lengths




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are not required: “Condemned to the use of words, we can never expect mathematical certainty from

our language.” Id. at 110, 92 S. Ct. at 2300.

       2.      Equal Protection Claim

       Although it is not entirely clear from her complaints, as the Court understands it, Timmon

is also claiming that Defendants violated her equal protection rights by allowing individuals who are

Caucasian to rebut Timmon, while preventing Timmon from responding to Caucasian speakers, or

by condoning personal attacks by Caucasian speakers. (Case No. 5:05-CV0-127 Compl. ¶ 20 (“The

people that Timmon rebutted who Wood was trying to protect are caucasian. Timmon is the only

African-American female with a newspaper, and television shows that expose the political wrong-

doings of Wood’s favored candidates and elected officials. Whites have often went to the televised

Lansing City Council podium and rebutted Timmon with no reprimand.”); Case No. 5:06-CV-7

Compl. ¶ 10 (“Defendants, Leeman and Dunbar listened to the public comment of a white man who

is intricately involved with the current case, (Docket No: 5:05-cv-127) and chose not to interrupt his

public comment when he used language inappropriate for a limited public forum; and was not City

of Lansing Business.”)

       The Equal Protection Clause requires government officials to treat similarly situated

individuals in a similar manner. See U.S. Const. amend. XIV. In order to establish a violation of

the Equal Protection Clause based upon race, a plaintiff must prove that a racially discriminatory

intent or purpose was a factor that influenced the governmental actor’s decision or action. See Vill.

of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265-66, 97 S. Ct. 555, 563 (1977).

       A person bringing an action under the Equal Protection Clause must show intentional
       discrimination against him because of his membership in a particular class, not
       merely that he was treated unfairly as an individual. “[T]he decision maker [must
       have] selected or reaffirmed a particular course of action at least in part ‘because of,’
       not merely ‘in spite of,’ its adverse effects upon an identifiable group.”


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Huebschen v. Dep’t of Health & Soc. Servs., 716 F.2d 1167, 1171 (7th Cir. 1983) (quoting Personnel

Adm’r v. Feeney, 442 U.S. 256, 279, 99 S. Ct. 2282, 2296 (1979)). A plaintiff may show that the

decisionmaker acted with a discriminatory purpose by introducing evidence that similarly situated

individuals of a different race were treated differently. See Farm Labor Org. Comm. v. Ohio State

Highway Patrol, 308 F.3d 523, 534 (6th Cir. 2002). “A claimant can demonstrate discriminatory

effect by naming a similarly situated individual who was [treated differently] or through the use of

statistical evidence or other evidence which ‘address[es] the crucial question of whether one class

is being treated differently from another class that is otherwise similarly situated.’” Id. (quoting

Chavez v. Ill. State Police, 251 F.3d 612, 638 (7th Cir. 2001)). In Gardenhire v. Schubert, 205 F.3d

303 (6th Cir. 2000), the Sixth Circuit stated that a plaintiff alleging an equal protection claim based

upon selective enforcement must demonstrate three elements:

               First, [an official] must single out a person belonging to an identifiable group,
       such as those of a particular race or religion, or a group exercising constitutional
       rights, for prosecution even though he has decided not to prosecute persons not
       belonging to that group in similar situations. Second, [the official] must initiate the
       prosecution with a discriminatory purpose. Finally, the prosecution must have a
       discriminatory effect on the group which the defendant belongs to.

Id. at 319 (quoting United States v. Anderson, 923 F.2d 450, 453 (6th Cir. 1991)).

       Timmon’s equal protection claims fail because she has not presented any evidence that in

invoking Rule 19, Defendants singled her out because of her race; that Defendants had a

discriminatory purpose in invoking Rule 19; or that enforcement of Rule 19 against Timmon had a

discriminatory effect on African-American members of the Lansing community.

       Timmon’s videotape evidence in Case No. 5:05-CV-127, which presents several excerpts

from undated City Council meetings, fails to support a claim of selective prosecution. The first

speaker, Jim Williams, a Caucasian, commented in response to Timmon’s attacks against gays

during her public access television show. As with Timmon, the City Council invoked Rule 19,

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reminding Mr. Williams that the City Council meeting was not a forum to personally attack

someone. The next speaker was Frank S. Curtis X, an African-American, who used profanities and

the derogatory term “nigger” in his comments. The City Council did not interrupt his speech to

invoke Rule 19, even though his comments were probably offensive to some people in attendance.

The third speaker was Gary Andrews, a Caucasian. Mr. Andrews simply presented his views on

Comcast and did not mention any individual by name. The fourth speaker, Willy Williams, a

Caucasian, spoke on two different occasions regarding local elections. In the first instance, Mr.

Williams stated that he would not support a candidate for City Clerk who aligned herself with

Timmon. In the second instance, Mr. Williams noted that Timmon had a grant for a television show

in which she indicated her support for City Council candidate John Pollard. Mr. Williams asked

whether the grant was ill-advised. He then noted that Timmon, along with two other individuals,

failed to stand for the pledge of allegiance. The City Council did not invoke Rule 19 against Mr.

Williams. The fifth speaker was Shirley Carter, an African-American, who, during the September

12, 2005, meeting, thanked the City Council for applying Rule 19 and noted that she herself had been

subjected to personal attacks, apparently by Timmon. The last speaker was Dru Vincent, an African-

American. Mr. Vincent, apparently referring to another speaker, called the speaker a “racist pig.”

When Defendant Allen reminded Mr. Vincent of Rule 19, Mr. Vincent expressed his view that the

City Council applied the rules in a racist manner.

       At most, Timmon’s evidence shows that the City Council applies Rule 19 in a

nondiscriminatory manner. Defendant Allen applied the rule to Jim Williams, who is Caucasian,

and to Timmon and Mr. Vincent, both of whom are African-American, because their comments were

of a personal nature. Defendant Allen did not apply Rule 19 to Willy Williams or to Gary Andrews,

both of whom are Caucasian, or to Frank S. Curtis X, who is African-American. Neither Mr.


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Andrews nor Mr. Curtis made any comments that could be characterized as personal attacks, and

although Willy Williams did mention Timmon, his comments were arguably not personal attacks

because they related to candidates in an upcoming election, grants for cable television programming,

and who did not stand for the pledge of allegiance.

       Similarly, Timmon’s video evidence in Case No. 5:06-CV-7 does not show that Defendant

Leeman applied Rule 19 to Timmon in a discriminatory manner. That evidence, detailed above in

the statement of facts, shows that all of the other speakers commented upon issues that were both

of concern to the public and related to City Council business. Willy Williams, who apparently is the

Caucasian speaker to whom Timmon refers in her complaint, did mention Timmon in his comments.

However, his remarks cannot be considered a personally-abusive attack because he merely purported

to quote remarks that Timmon made on a recent television show on the City-sponsored cable channel

regarding the mayor, Dunbar, and the choices that City of Lansing voters had made in the recent

election. Accordingly, Timmon has failed to demonstrate any basis for an equal protection claim.

       2.      Absolute Legislative and Qualified Immunity

       As alternative bases for summary judgment, Defendants contend that they are entitled to

absolute legislative or qualified immunity. In light of its conclusions that Defendants are entitled

to summary judgment because Defendants did not violate Timmon’s First and Fourteenth

Amendment rights, the Court need not address Defendants’ immunity arguments. See Feterle v.

Chowdhury, 148 F. App’x 524, 533 (6th Cir. 2005) (finding it unnecessary to reach the question of

qualified immunity in light of the conclusion that the plaintiff’s First Amendment claim failed);

Burnette v. Gee, 137 F. App’x 806, 812 (6th Cir. 2005) (“Because this Court finds that Sheriff Gee

did not violate Wilson’s Fourth Amendment right to be free of excessive force, it need not address

Appellants’ arguments regarding qualified immunity.”)


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B.       Claims Under 18 U.S.C. §§ 241 and 242 (Case No. 5:05-CV-127)

         Defendants also contend that Timmon’s claims under 18 U.S.C. §§ 241 and 242 must be

dismissed because those statutes are criminal statutes that do not provide a civil right of action to

private parties. It is well-established that criminal statutes, such as §§ 241 and 242, can only be

enforced by the United States as prosecutor. See, e.g., Connecticut Action Now, Inc. v. Roberts

Plating Co., 457 F.2d 81, 86 (2d Cir. 1972) (“It is a truism, and has been for many decades, that in

our federal system crimes are always prosecuted by the Federal Government, not as has sometimes

been done in Anglo-American jurisdictions by private complaints.”); Winslow v. Romer, 759 F.

Supp. 670, 673 (D. Colo. 1991) (“Private citizens generally have no standing to institute federal

criminal proceedings.”). Moreover, courts have specifically held that “[o]nly the United States as

prosecutor can bring a complaint under 18 U.S.C. §§ 241-242 (the criminal analogue of 42 U.S.C.

§ 1983).” Cok v. Cosentino, 876 F.2d 1, 2 (1st Cir. 1989) (per curiam); see also Bernal v. Kline, No.

Civ. A. 04-3457-GTV, 2005 WL 1109453, at *2 (D. Kan. May 9, 2005) (“To the extent plaintiff

seeks damages based on defendants’ alleged violation of 18 U.S.C. §§ 241 and 242, plaintiff has no

standing to assert jurisdiction under these federal criminal statutes which neither authorize civil

actions nor create civil liabilities on the part of any defendant.”); Copley v. Sweet, 133 F. Supp. 502,

505-06 (W.D. Mich. 1955) (stating that §§ 241 and 242 “provide only for punishment by fine or

imprisonment for the deprivation of certain Federal rights, privileges or immunities therein referred

to, and it is clear that they have no application to the plaintiff’s present civil action for money

damages”). Therefore, Timmon lacks standing to assert claims under §§ 241 and 242.8




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          Incidentally, even if Timmon had standing to enforce those sections, any claim would fail, as the Court has
already determined that D efendants did not violate Timmon’s constitutional rights.

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C.        Open Meetings Act Claim

          Timmon also appears to assert a claim under the Open Meetings Act (“OMA”). The basis

of her claim is unclear. In her complaint in Case No. 5:05-CV-127, Timmon cites § 3(5) of the

OMA, which provides, in part: “A person shall be permitted to address a meeting of a public body

under rules established and recorded by the public body. . . .” M.C.L. § 15.263(5). Timmon was

permitted to address the City Council at its September 12, 2005, meeting and at its January 6, 2006,

meeting, subject to its established rules. She fails to explain how Defendants violated this provision.

In her brief in support of her motion for summary judgment in Case No. 5:05-CV127, Timmon

asserts that Wood and Allen violated the OMA by passing notes between themselves and the City

Attorney that were not known to the other City Council members. Timmon contends that “[t]he

notes were in violation of the Open Meetings Act that prohibits voting procedures that the public is

not aware of.” (Pl.’s Br. Supp. Mot. at 7.) Apart from the fact that Timmon has not submitted the

alleged notes to the Court for its review, Timmon fails to cite any authority for the proposition that

notes passed between members of a governmental body during a meeting somehow constitute voting,

a decision of the body, or deliberations of the body. In any event, nothing in the videotape of the

September 12, 2005, meeting shows that the City Council took any official action based upon or

because of the alleged notes. Accordingly, Defendants are entitled to summary judgment on this

claim.9




          9
            Timmon also references various provisions of the Lansing City Charter in her brief in support of her motion
for summary judgme nt. The pu rpose of such references is no t clear to the Co urt. A vio lation of the City Charter w ould
not amount to a violation of a federal constitutional right, because “[v]iolations of state law do not, by themselves, give
rise to a federal cause of action under 42 U.S.C. § 1983.” Jocham, 239 F. Sup p. 2d at 729. Moreo ver, T immo n fails
to cite an y basis for concluding that she has any state law claim based upon a violation of the City Charter.

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                                       IV. Conclusion

       For the foregoing reasons, the Court will grant Defendants' motions for summary judgment

on all claims in both cases and deny Timmon’s motions for summary judgment in both cases.

       An Order consistent with this Opinion will be entered.



Dated: July 18, 2006                                     /s/ Gordon J. Quist
                                                        GORDON J. QUIST
                                                   UNITED STATES DISTRICT JUDGE




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